       Case 2:24-cv-06316-JFM          Document 27   Filed 04/18/25   Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
RAFAEL GARCIA,                                  :
                                                :
                           Plaintiff,           :
                                                :      CIVIL ACTION
                    v.                          :
                                                :      No. 24-6316
                                                :
CITY OF PHILADELPHIA, ET Al.,                   :
                                                :
                           Defendants           :
                                                :

                                  PROPOSED ORDER

AND NOW, this                      day of April 2025, upon consideration of the Unopposed

Motion for an Extension of Time to Respond to Amended Complaint filed by Defendant

Philadelphia District Attorney’s Office, it is hereby ORDERED that the Motion is GRANTED.

Defendant Philadelphia District Attorney’s Office must submit its response to the Amended

Complaint on or before May 26, 2025.


                                                       BY THE COURT:



                                                         MURPHY, J.
      Case 2:24-cv-06316-JFM          Document 27        Filed 04/18/25     Page 2 of 4




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
RAFAEL GARCIA,                                     :
                                                   :
                             Plaintiff,            :
                                                   :       CIVIL ACTION
                     v.                            :
                                                   :       No. 24-6316
                                                   :
CITY OF PHILADELPHIA, ET Al.,                      :
                                                   :
                             Defendants            :
                                                   :

  DEFENDANT PHILADELPHIA DISTRICT ATTORNEY’S OFFICE UNOPPOSED
     MOTION FOR AN EXTENSION OF TIME TO RESPOND TO AMENDED
                          COMPLAINT

       Defendant, the Philadelphia District Attorney’s Office (DAO), files the following

Motion for an Extension of Time, and in support thereof avers as follows:

       1.      Plaintiff initiated this action with the filing of a Complaint on November 26,

2024 (ECF No. 1).

       2.      On March 31, 2025, Plaintiff filed an Amended Complaint (ECF No. 17) which

added claims against the DAO for the first time.

       3.      Plaintiff effectuated personal service upon the DAO on April 3, 2025.

       4.      The DAO’s response to the Amended Complaint is due on April 24, 2025.

       5.      The undersigned attorney divides his time between the office’s Civil Litigation

and Federal Litigation units. The Amended Complaint in this matter was served on the DAO

while the supervisor of the Civil Litigation Unit was away on vacation. During the supervisor’s

absence, the undersigned assumed additional Civil Litigation duties for the office.

       6.      Accordingly, the DAO would request an extension of time sufficient to
      Case 2:24-cv-06316-JFM           Document 27       Filed 04/18/25      Page 3 of 4




investigate the allegations in the Complaint and prepare an appropriate response.

       7.        The undersigned conferred with Plaintiff’s counsel, see Section 3, Policies and

Procedures, Judge John G. Murphy, and Plaintiff does not oppose the DAO’s request for a 30-

day extension.



       WHEREFORE, the Philadelphia District Attorney’s Office respectfully request a 30-

day extension of time until May 26, 2025, to respond to Plaintiff’s Amended Complaint.



Dated: April 18, 2025                         Respectfully submitted,

                                              /s/ Joshua B. Niemtzow
                                              Joshua B. Niemtzow
                                              Assistant District Attorney
                                              Civil Litigation Unit/Federal Litigation Unit
                                              Philadelphia District Attorney’s Office
                                              3 S. Penn Square, 13th Floor
                                              Philadelphia, PA 19107
                                              (215) 686-7644 (phone)
                                              josh.niemtzow@phila.gov
        Case 2:24-cv-06316-JFM              Document 27            Filed 04/18/25    Page 4 of 4




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                           :
RAFAEL GARCIA,                                             :
                                                           :
                                  Plaintiff,               :
                                                           :         CIVIL ACTION
                         v.                                :
                                                           :         No. 24-6316
                                                           :
CITY OF PHILADELPHIA, ET Al.,                              :
                                                           :
                                  Defendants               :
                                                           :

                                      CERTIFICATE OF SERVICE

        I hereby certify that, on April 18, 2025, true and correct copies of the foregoing document were

served on all parties of record via the Court’s e-filing system.



                                                           Respectfully submitted,

                                                           /s/ Joshua B. Niemtzow

                                                           Counsel for Defendant Philadelphia District
                                                           Attorney’s Office
